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                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                    RICHMOND DIVISION


UNITED STATES OF AMERICA
                       Plaintiff


v.                                                     CASE NO. 3:14CR081-002(JRS)


CHAWN BEALE,
                       Defendant.




          REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

        This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3) upon

the Defendant's request to enter a plea of guiltypursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into by the United States and the Defendant. The matter

was presented to the court upon the written consent of the Defendant and counsel for the

Defendant to proceed before a United States Magistrate Judge, said consent including the

Defendant's understanding that he consented to not only having the Magistrate Judge conduct the

hearing and enter any order offorfeiture, ifapplicable, but also to having the Magistrate Judge
make necessary findings and accepting any guilty pleaas may be entered thatcould not be

withdrawn except for fair and just reason.

        The Court accepted the Defendant's waiver of his right to proceed by indictment after

specific inquiry was made ofthe Defendant as to his understanding ofthe right to require
prosecution by indictment. The Defendant pled guilty to Count 2 ofthe Indictment in open court
and pursuant to a Rule 11 inquiry. Upon consideration ofthe responses and statements made by
the Defendant under oath, on the record, and based upon the written plea agreement and
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statement of facts presented, the court makes the following findings:

       1.      That the Defendant is competent to enter a plea of guilty;

       2.      That the Defendant understands the nature of the charge against him to which his

               plea is offered;

       3.      That the Defendant understands what the maximum possible penalties are upon

               conviction of the offense charged, including any mandatory minimum periods of

               confinement, the effect of any required term of supervised release, the loss of

               various civil rights (if applicable, including the right to vote, the right to hold

               public office, the right to own and possess a firearm), the possibility of adverse

               immigration consequences (if applicable), the required imposition of a special

               assessment, forfeiture of real and/or personal property (if applicable), and

              restitution (if applicable);

       4.     That the sentencing court hasjurisdictionand authority to impose any sentence

              within the statutory maximums provided, but that the court will determine the

              defendant's actual sentence in accordance with 18U.S.C. §3553(a) and that the

              court, after considering the factors set forth in 18 U.S.C. § 3553(a), may impose a

              sentence above or below the advisory sentencing range, subject only to review by

              higher courts for reasonableness;

       5.     Thatthe Defendant understands his right to persist in a plea of not guilty and

              require that the matter proceed to trial with all the rights and privileges attending a

              trial, including, but not limited to: the right to effective assistance of counsel; the

              right to use the power and processes of the court to compel the production of

              relevant evidence on the Defendant's behalf; the right to confront and cross-
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               examine adverse witnesses; the right to present relevant evidence; the right to

               remain silent; and the right to trial by jury;

       6.      That the Defendant understands that he is waiving any right to appeal whatever

               sentence is imposed by pleading guilty, even if the sentence is erroneous, as long

               as said sentence does not exceed the total statutory penalties provided;

       7.      That the Defendant understands all provisions of the written plea agreement

               which was reviewed in essential part with the Defendant during the proceeding;

       8.      That the plea of guilty entered by the Defendant was knowingly and voluntarily

               entered and is not the resultof force or intimidation of any kind; nor is it the result

               of any promises other than the representations set forth in the plea agreement; and

       9.      That the plea of guilty entered by the Defendant was knowingly and voluntarily

               made with full knowledge of the consequences and with an independent basis in

               fact to support said plea.

       Accordingly, the court accepted the Defendant's plea of guilty to Count Two of the

Indictment and entered judgment of guilt on the subject charge. It is therefore the

recommendation ofthis court that its findings, including the acceptance of the Defendant's plea

of guilt and resulting judgment of guilt, be adopted.

       Let the Clerk forward a copy of this report and recommendation to the Honorable James

R. Spencer and to counsel of record. It is so Ordered.

                                                                            Is!
                                                                David J. Novak    &-
                                                                United States Magistrate Judge

Dated: October 15,2014
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                                          NOTICE


       The Defendant is advised that he/she may file specific written objection to this

report and recommendation with the court within fourteen (14) days of this date. If

objection is noted, the party objecting must promptly arrange for the transcription of the

relevant record and file it forthwith with the court for its use in any review. Failure to

object in accordance with this notice, including the requirement for preparation of a

transcription of the relevant portions of the record, willconstitute a waiver of any right to

de novo review of the matter and may result in adoption of the recommendation, including
the finding of guilt as entered by the magistrate judge.
